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                       IN THE UNITED STATES DISTRICT COURT
                                                                                        JUN - fi 2010
                       FOR THE EASTERN DISTRICT OF VIRGINIA
                                    RICHMOND DIVISION                          !                  ____
                                                                               j   CLERK, U.S. DISTRICT COURT
                                                                               i         RICHMOND VA


UNITED STATES OF AMERICA,



v.                                                       CASE NO. 3:10CR00085-001


CHAVELLA JONES,
                       Defendant.



             REPORT AND RECOMMENDATION OF THE MAGISTRATE JUDGE


        This matter is before the court pursuant to Title 28 U.S.C. § 636(b)(l)(B) and (b)(3) upon


the Defendant's request to enter a pleas of guilty pursuant to Fed. R. Crim. P. 11 and a written

plea agreement that has been entered into by the United States and the Defendant. The matter

was presented to the court upon the written consent of the Defendant and counsel for the


Defendant to proceed before a United States Magistrate Judge, said consent including the

Defendant's understanding that she consented to not only having the Magistrate Judge conduct


the hearing and enter any order of forfeiture, if applicable, but also to having the Magistrate


Judge make necessary findings and accepting any guilty plea as may be entered that could not be

withdrawn except for fair and just reason.


          The Defendant pled guilty to Counts One, Two and Fifteen of the Indictment in open

court and pursuant to a Rule 11 inquiry. Upon consideration of the responses and statements


made by the Defendant under oath, on the record, and based upon the written plea agreement and

statement of facts presented, the court makes the following findings:


         1.     That the Defendant is competent to enter a plea of guilty;

        2.      That the Defendant understands the nature of the charges against her to which her
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         pleas are offered;


   3.    That the Defendant understands what the maximum possible penalties are upon


         conviction of the offenses charged, including any mandatory minimum periods of


         confinement, the effect of any required term of supervised release, the loss of


         various civil rights (if applicable, including the right to vote, the right to hold


         public office, the right to own and possess a firearm), the possibility of adverse


         immigration consequences (if applicable), the required imposition of a special

         assessment, forfeiture of real and/or personal property (if applicable), and


         restitution (if applicable);


   4.    That the sentencing court has jurisdiction and authority to impose any sentence

         within the statutory maximums provided, that the court can reject any agreement

         by the parties as to drug quantity and/or sentencing factors, and that the court will

         determine the defendant's actual sentence in accordance with 18 U.S.C. § 3553(a)

         and that the court, after considering the factors set forth in 18 U.S.C. § 3553(a),

         may impose a sentence above or below the advisory sentencing range, subject

         only to review by higher courts for reasonableness;


   5.    That the Defendant understands her right to persist in a plea of not guilty and

         require that the matter proceed to trial with all the rights and privileges attending a

         trial, including, but not limited to: the right to effective assistance of counsel; the

         right to use the power and processes of the court to compel evidence on the

         Defendant's behalf; the right to confront and cross-examine adverse witnesses; the


         right to present relevant evidence; the right to remain silent; and the right to trial

         by jury;
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       6.      That the Defendant understands that she is waiving any right to appeal whatever

               sentence is imposed by pleading guilty, even if the sentence is erroneous, as long

               as said sentence does not exceed the total statutory penalties provided;

       7.      That the Defendant understands all provisions of the written plea agreement

               which was reviewed in essential part with the Defendant during the proceeding;

       8.      That the pleas of guilty entered by the Defendant were knowingly and voluntarily


               entered and is not the result offeree or intimidation of any kind; nor is it the result

               of any promises other than the representations set forth in the plea agreement; and


       9.      That the pleas of guilty entered by the Defendant were knowingly and voluntarily

               made with full knowledge of the consequences and with an independent basis in


               fact to support said pleas.


       Accordingly, the court accepted the Defendant's pleas of guilty to Counts One, Two and


Fifteen of the Indictment and entered judgment of guilt on the subject charges. It is therefore the

recommendation of this court that its findings, including the acceptance of the Defendant's pleas


of guilty and resulting judgment of guilt, be adopted.




                                                          /s/
                                                    M. Hannah Lauck
                                                    United States Magistrate Judge


Dated: June 1,2010
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                                           NOTICE


       The Defendant is advised that he/she may file specific written objection to this

report and recommendation with the court within fourteen (14) days of this date. If


objection is noted, the party objecting must promptly arrange for the transcription of the


relevant record and file it forthwith with the court for its use in any review. Failure to

object in accordance with this notice, including the requirement for preparation of a


transcription of the relevant portions of the record, will constitute a waiver of any right to


de novo review of the matter and may result in adoption of the recommendation, including


the finding of guilt as entered by the magistrate judge.
